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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

          v.
                                                           Criminal Action No. 18-cr-218 (TSC)
 MARIIA BUTINA, a/k/a/,
 MARIA BUTINA

                    Defendant.


                                             ORDER

        On June 8, 2022, the court received a “Renewed petition for a writ of error coram nobis

and audita querela” in the physical mail from a person purporting to be Defendant Mariia Butina.

Having reviewed the record and received representations from defense and government counsel,

see Ex. A., Email from Court to Counsel, the court has reason to believe that this letter was not

actually sent by Butina, but instead an unrelated individual who has previously—and without

authorization—sought habeas corpus relief on Butina’s behalf. See Pet. for Writ of Habeas

Corpus, ECF No. 2, No. 19-cv-1210 (D.D.C. Apr. 25, 2019). The court therefore denies leave to

file that letter.

        The court previously denied an earlier motion for habeas review in this case. See Mem.

Op. and Order, ECF No. 130 (Dec. 16, 2020) (denying Mot. to Vacate under 28 U.S.C. § 2255,

ECF No. 129 (Sept. 8, 2020)). It appears that the earlier motion (ECF No. 129) was also made

by this unrelated individual without Butina’s authorization.

        A writ of habeas corpus application must be submitted “by the person for whose relief it

is intended or by someone acting in [their] behalf.” 28 U.S.C. § 2242. As Butina’s counsel


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makes clear, she did not apply for habeas relief. See Ex. A. And while a “next friend” may

occasionally be permitted to seek habeas relief on behalf of an incarcerated person, that standing

does not extend to unauthorized strangers to the case. See Rosenberg v. United States, 346 U.S.

273, 291 (1953) (Jackson., J., concurring) (disapproving of attempt by a “stranger to the

[Defendant]” to intervene in a criminal case via habeas petition when not authorized to do so by

Defendant’s counsel).

       No permission to file was given and no “next friend” standing is available. The court

will therefore VACATE its Memorandum Opinion and Order of December 16, 2021, ECF No.

130. The Clerk of the Court is further directed to STRIKE the Motion to Vacate under 28

U.S.C. § 2255, ECF No. 129, from the record.



Date: August 17, 2022

                                                 Tanya S. Chutkan
                                                 TANYA S. CHUTKAN
                                                 United States District Judge




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                 EXHIBIT A
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From:            Kenerson, Erik (USADC)
To:              Chutkan Chambers; Kramer, A. (FD); Saunders, Thomas (USADC); Mackie, Will (NSD)
Cc:              rdriscoll@mcglinchey.com; Carry, Alfred
Subject:         RE: 18-cr-218, Butina - Letter Received by Court
Date:            Tuesday, July 26, 2022 12:36:56 PM


CAUTION - EXTERNAL:

Dear Judge Chutkan’s Chambers:

Thank you for reaching out regarding the letter you received from someone claiming to be Ms.
Butina. I am adding Ms. Butina’s trial counsel, Bob Driscoll and Alfred Carry, to this email. After
conferring with Messrs. Driscoll and Carry, the parties defer to the Court as to whether the letter
should be docketed, but we agree with the Court’s assessment on the seeming lack of authenticity,
based on the information currently available to us.

If you need anything else from us, please let us know.

Erik



From: Chutkan Chambers <Chutkan_Chambers@dcd.uscourts.gov>
Sent: Thursday, July 21, 2022 1:09 PM
To: Kramer, A. (FD) <A._J._Kramer@fd.org>; Kenerson, Erik (USADC) <EKenerson@usa.doj.gov>;
Saunders, Thomas (USADC) <TSaunders@usa.doj.gov>; Mackie, Will (NSD) <Will.Mackie@usdoj.gov>
Subject: 18-cr-218, Butina - Letter Received by Court

Counsel:

The court received a “Renewed petition for a writ of error coram nobis and audita querela” via
physical mail from a person purporting to be Defendant Mariia Butina in this case. That letter is
attached. The court has reason to believe that this letter may not actually be from the Defendant,
and instead another person impersonating her. Specifically, the ID number in the top left corner of
the document’s first page, scratched out with a blue pen, appears to be “0571068”. That number is
the BOP number of former inmate “Frederick H. Banks.” Mr. Banks has previously filed at least one
similar motion “on behalf” of Ms. Butina in the past. See Pet. For Writ of Habeas Corpus, ECF No. 2.,
No. 19-cv-1210 (D.D.C. Apr. 25, 2019);

The court is also attaching the Motion to Vacate filed by the Defendant on September 8, 2020 (ECF
No. 129). After reviewing both motions together, the court now has reason to believe that the first
motion, which the court denied on December 16, 2021 (ECF No. 130), is also not actually from the
Defendant. From a cursory analysis, the handwriting in this motion matches that of the recently
received version.

Please confer and respond jointly with your position on the matter, including whether the letter
should be filed on or before close of business on July 29, 2022.
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Thank you,

Chambers of Hon. Tanya S. Chutkan
U.S. District Court for the District of Columbia
(202) 354-3000

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
